          Case 1:20-cr-00304-AJN Document 34 Filed 10/21/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                        10/21/20

  United States of America,

                  –v–
                                                                     20-cr-00304 (AJN)
  Jesus Rivera,
                                                                          ORDER
                         Defendant.



ALISON J. NATHAN, District Judge:

       The Court ordered during the July 20, 2020 Initial Pretrial Conference that any available

Defense motions were due on or before October 19, 2020. No motions were filed by that date.

The Court will proceed to preparing for the trial in this matter, which is set for January 25, 2021.

       The Southern District of New York has reconfigured courtrooms and other spaces in its

courthouses to allow jury trials to proceed as safely as possible during the COVID-19 pandemic.

Due to the protocols implemented in response to the challenges posed by the COVID-19

pandemic, the Southern District is scheduling all jury trials through a centralized calendaring

process, giving priority to criminal trials. On November 15, 2020, the Court will request a jury

for January 25, 2021, consistent with the protocols implemented by the Southern District. Any

request for an adjournment of the trial date based on currently available information or
scheduling concerns must be made before November 15, 2020.

       In light of the anticipated trial date, it is hereby ORDERED that the parties appear for a

final pretrial conference on January 14, 2021 at 3:45 PM, in Courtroom 906 of the United States

District Court for the Southern District of New York, 40 Foley Square, New York, New York.

       IT IS FURTHER ORDERED that on or before November 19, 2020, the parties shall

submit: (1) an agreed upon 1-2 paragraph description of the case to be read to potential jurors

during Voir Dire; (2) any Voir Dire requests; and (3) any Requests to Charge. With respect to

Requests to Charge, the parties shall indicate whether the request is made jointly and, if not,

                                                     1
           Case 1:20-cr-00304-AJN Document 34 Filed 10/21/20 Page 2 of 2




whether a party objects to a particular request. Any party objecting to a request shall indicate the

legal basis for their objection.

        IT IS FURTHER ORDERED that any 404(b) motions and motions in limine be filed by

November 19, 2020. Opposition papers, if any, shall be filed by November 26, 2020 and

Replies, if any, shall be filed by December 3, 2020.

        Finally, the Court finds that the ends of justice served by granting an exclusion from the

speedy trial computations from today’s date through January 25, 2020 outweigh the interests of

the public and the Defendant in a speedy trial as this time is necessary to enable the parties to

continue any discussions toward resolution and, in the absence of that, time for the parties to

prepare for trial.




        SO ORDERED.




 Dated: October 21, 2020
        New York, New York
                                                  ____________________________________
                                                            ALISON J. NATHAN
                                                          United States District Judge




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